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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS

      UNITED STATES OF AMERICA                               )
                                                             )
                              v.                             )      1:19-cr-10459-RWZ-37
                                                             )
      LUIS MENDEZ                                            )
                                                             )

        MOTION FOR REVIEW OF DETENTION ORDER BY DISTRICT JUDGE

        Pursuant to 18 U.S.C. §3145(b), Luis Mendez moves that the District Court review the

order of detention entered by the Magistrate Judge. Mendez disputes the Magistrate Judge’s

findings that he is a flight risk and that no conditions of release will reasonably assure the safety

of the community. Mendez has a documented history of asthma and is therefore at heightened

risk of serious illness and death in light of the ongoing COVID-19 pandemic. The risk is

particularly acute at the present time, given that Mendez is detained at the Donald W. Wyatt

Detention Center, which is presently experiencing a prolific outbreak of COVID-19.1 In light of

the foregoing, Mendez maintains that the following conditions would be sufficient to mitigate

any risk of non-appearance or danger:

                 Reside with sister Sherry Trinidad in New Bedford;

                 Home detention to be enforced by electronic monitoring;

                 Seek/maintain employment;

                 Abstinence from drug use, to be monitored through regular testing;

                 No contact with codefendants or other Latin Kings members.



1
 The U.S. Marshals reported that, as of June 5, 2020, 53 detainees at the Wyatt Detention Center have tested
positive for COVID-19. Of those, 25 cases were active.

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A prompt hearing on this motion is requested. Moreover, because the Court has yet to resolve

his objection to the delay in affording him a speedy trial, Mendez requests a further hearing as to

that issue together with the Court’s review of the detention order. See Dkt #886.

                                   PROCEDURAL HISTORY

       Luis Mendez made his initial appearance as to this indictment on January 31, 2020, at

which time the he consented to an order of voluntary detention without prejudice.2 Dkt. #423.

On May 11, 2020, he sought a detention hearing. On May 20, 2020, a detention hearing took

place via videoconference before Magistrate Judge Bowler. Dkt. #919. At the conclusion of the

hearing, Magistrate Judge Bowler entered findings that Mendez constituted a flight risk and a

danger to the community. She took under advisement so much of Mendez’s argument for release

as pertained to the COVID-19 pandemic and granted leave for him to submit medical records

relating to his medical condition. Dkt. #914. On June 1, 2020, Mendez moved for a ruling as to

the issue of his detention. Dkt. #950. One June 3, 2020, Magistrate Judge Bowler entered an

electronic order denying Mendez’s motion for release, finding “that the defendants medical

condition and possible increased risks if he contracts COVID-19 do not outweigh the danger

posed by the defendant's close association and involvement with the Latin Kings' criminal

activities.” Dkt. #961.

                     THE CHARGES & EVIDENCE AGAINST MENDEZ




2
 However, Mendez has been in continuous custody on conduct related to this indictment since
February 7, 2019, when he was arrested on drug charges in New Bedford; these charges were
ultimately adopted by the U.S. Attorney’s Office and charged in United States v. Luis Mendez,
19-cr-10178. That case was dismissed at the request of U.S. Attorney’s Office following the
unsealing of the instant indictment.

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           Mendez is charged with one count of RICO conspiracy in violation of 18 U.S.C. §

1962(d). The government has identified several incidents as establishing Mendez’s participation

in the charged conspiracy. Although the government characterizes the weight of the evidence

against him as supporting his detention, Mendez suggests that a careful review of the evidence is

hardly conclusive.

           One such incident cited by the government involves a shooting in New Bedford on May

29, 2018, where Mendez and several alleged to have approached a vehicle and attacked it.

Mendez can be seen, unarmed, kicking the vehicle’s fender. Some time after Mendez and the

others have approached the car, another individual approaches and begins shooting. In the

surveillance video capturing this incident, Mendez appears to be startled by the gunshots. There

does not appear to be evidence that the shooting was planned or that Mendez had knowledge that

another party was armed. The government also makes much of a recorded phone call in which

Mendez discusses the shooting and his supposed efforts to dissuade the victims from testifying.

However, undersigned counsel’s review of the discovery thus far has not yielded any

independent corroboration of Mendez’s claim and suggests that they may have been mere

puffery.

           In opposing Mendez’s release, the government also elaborates on Mendez’s February 7,

2019 arrest following the recovery of cocaine and marijuana in a safe during the execution of a

search warrant at 239 Sawyer Street. At the time of his arrest, Mendez stated that the safe and its

contents belonged to “Royalty.”3 The government then claims that in phone calls made

following his arrest on February 7, 2019, Mendez tries to arrange for “Royalty” to take



3
    “Royalty” has been identified as codefendant Roberto Vargas.

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responsibility for the seized drugs. The government’s argument presumes that the drugs were in

fact Mendez’s and that his recorded comments were an attempt to obstruct justice. However,

substantial evidence indicates that what was seized did in fact belong to Royalty. A fingerprint

was recovered from the safe where the seized drugs were; the defense expects to offer fingerprint

belongs to a woman who was romantically involved with “Royalty.”

                                            ARGUMENT

       18 U.S.C. 3145(b) explicitly provides for the review of detention orders by the District

Court. This avenue of relief safeguards the liberty interests of individuals who are presumed to

be innocent of the crimes with which they are accused. “In our society liberty is the norm, and

detention prior to trial or without trial is the carefully limited exception.” United States v.

Salerno, 481 U.S. 739, 755 (1987). “In reviewing the magistrate judge’s detention orders, the

court must undertake an independent review, giving her decision such deference as the care and

consideration of the magistrate judge warrant.” United States v. Simone, 317 F.Supp.2d 38, 42

(D.Mass. 2004) (internal citations omitted).

       Here, although the Magistrate Judge found that Mendez has been treated for asthma in

the past, she concluded that his “medical condition and possible increased risks if he contracts

COVID-19 do not outweigh the danger posed by the defendant's close association and

involvement with the Latin Kings' criminal activities.” Dkt. #961. Mendez submits that his

asthma history, coupled with the deterioration in conditions at the Wyatt Detention Center, is of

sufficient gravity to warrant a different conclusion. To the extent that his release might

otherwise pose a danger to the community or a risk of flight, those risks can be addressed with

the onerous conditions of supervision proposed. Mendez is proposing that he be released to live



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under conditions of home confinement, to be enforced via electronic monitoring. Mendez’s past

association with the Latin Kings, cited by the Magistrate Judge in the detention order, can also be

mitigated by releasing him to live with a close family member without any such affiliation and a

no-contact order with Latin Kings members or associates. Under the conditions outlined herein,

Mendez submits that release is appropriate, at least temporarily until the risks posed by COVID-

19 have sufficiently abated.

                                          CONCLUSION

       For the foregoing reasons, pursuant to 18 U.S.C. §3145(b), Luis Mendez respectfully

requests that the Court review and revoke the Magistrate Judge’s order of detention, and enter an

order releasing him on the conditions proposed herein, or such other conditions as the Court

deems appropriate.

                                               Respectfully submitted,
                                               LUIS MENDEZ
                                               by his attorney
                                               /s/ Scott Lauer
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                                       Certificate of Service

I, Scott Lauer, hereby certify that this document was this day filed through the ECF system and
will be sent electronically to the registered participants as identified on the Notice of Electronic
Filing (“NEF”).

Date: June 11, 2020                            /s/ Scott Lauer
                                               Scott Lauer


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